Case 2: ei oY, v-0018

IS 44 (Rew. 1020)

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CIVIL COVER SHEET

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Page l of 1

The JS 44 civil cover sheet und the information contained herein neither replace nor supplement the tiling and service of pleadings or other papers as required by law, excepl as
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(SIE INSTRUCTIONS ON NENT PAGE OF THIS FORM

 

I. (a) PLAINTIFFS
Allstate Insurance Company

(b) County of Resid

enee oF First Listed Plaintiff
FEXCEPTIN US. PLAINTIFF

DEFENDANTS

County of Residence o
CASES)

LG Electronics USA, Inc

(First Listed Defendant
UN US PLAINTIER CASES ONLY)

NOTE: LS LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

(c) Atlorneys (Fit Name, Address, und Telephone Number) Altorneys “if Kauaiway
Joseph McGlynn, Esq., deluca Levine, Three Valley Warren E. Voter, Esquire, Sweeney & Sheehan, P.C.
Square, Suite 220, Blue Bell, PA 19422; 215-310-4731 1515 Market St., 19th Fl.,, Phila., Pa 19102; 215-563-9811

 

 

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IV. NATURE OF SUIT (Place wa “X" in One Box Only)

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(For Diversiiv Cases Only)

(US. Gaveriment Nat a Party) Citizen af This State oO

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III, CITIZENSHIP OF PRINCIPAL PARTIES (Place an "Xa Cue Bue fos Plaintiff

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VI. CAUSE OF ACTION

VU. REQUESTED IN
COMPLAINT:

 

VIIL RELATED CASE(S)

IF ANY

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JUDGE

Cite the U.S, Civil Statute under whieh you are Ming (Be not ete jurisdictional statures untess diversity):
28 u.S.C.A. Sac 1932, 1441 and 1446

Briel description of cause:

Produc! Liability case for proporty damage

L) CHECK IF THIS IS A CLASS ACTION DEMAND $
UNDER RULE 23, F.R.Cv,P

CHECK YES only if demanded ia complaint:
JURY DEMAND: Oyes ([JNo

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APPLYING LF? JUDGE

 

MAG, JUDGE
